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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES − GENERAL


  Case No. 2:16−cv−05053−DSF−JC                      Date    9/29/2016

  Title        VICTOR BERNACHE V. ALL COUNTY RECOVERY LLC, ET AL

                                 DALE S. FISCHER, UNITED STATES DISTRICT
  Present:      The Honorable
                                JUDGE
                   Debra Plato                         Not Present
                   Deputy Clerk                       Court Reporter

          Attorneys Present for Plaintiffs:          Attorneys Present for Defendants:
                   Not Present                                 Not Present

 Proceedings:        (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL
                     FOR LACK OF PROSECUTION

         Absent a showing of good cause, an action must be dismissed without prejudice
   if the summons and complaint are not served on a defendant within 90 days after the
   complaint is filed. Fed. R. Civ. Proc. 4(m). Generally, defendants must answer the
   complaint within 21 days after service (60 days if the defendant is the United States).
   Fed. R. Civ. Proc. 12(a)(1).
        In the present case, it appears that one or more of these time periods has not
   been met. Accordingly, the Court, on its own motion, orders plaintiff(s) to show
   cause in writing on or before Monday, October 17, 2016, why this action should not
   be dismissed as to the applicable defendant(s) for lack of prosecution. Pursuant to
   Rule 78 of the Federal Rules of Civil Procedure, the Court finds that this matter is
   appropriate for submission without oral argument. The Order to Show Cause will
   stand submitted on that date.
         Filing of the following on or before the date indicated above will constitute a
   satisfactory response to the Order to Show Cause:
               Proofs of service of summons and complaint on all defendants for whom
               such documents have not yet been filed;
               An appearance by all defendants who have been served or an application
               for entry of default pursuant to Rule 55(a) of the Federal Rules of Civil
               Procedure;
          XX A request that the clerk enter default judgment or motion for entry of
             default judgment pursuant to Rule 55(b) of the Federal Rules of Civil
             Procedure.
   IT IS SO ORDERED.
                                                             Initials of Deputy Clerk: dp

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